                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
___________________________________________
                                            )
UNITED STATES OF AMERICA                    )   Docket No. 5:13-cr-41-RLV
                                            )
      v.                                    )   INFORMATION
                                            )   PURSUANT TO
KENNETH HARMON BENNETT                      )   21 U.S.C. 851
___________________________________________ )

       NOW COMES the United States of America, by and through Anne M. Tompkins, United

States Attorney for the Western District of North Carolina, and files this Information with the

Court setting forth the Defendant’s previous conviction(s) for one or more felony drug

offense(s).

      Charge                          Conviction Date                Jurisdiction
                                      (Offense/Arrest Date)
      Possession with Intent to       5/1/2007 offense               Richland Parrish,
      Distribute                                                     Louisiana
      Methamphetamine

       Respectfully submitted this 29th day of May 2013.

                                      ANNE M. TOMPKINS
                                      UNITED STATES ATTORNEY

                                      /s/ Steven R. Kaufman
                                      STEVEN R. KAUFMAN
                                      ASSISTANT UNITED STATES ATTORNEY
                                      227 West Trade Street, Suite 1650; Charlotte, NC 28202
                                      (704) 338-3117 (office); (704) 227-0254 (facsimile)
                                      Steven.Kaufman@usdoj.gov

                                   CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of May 2013, the foregoing was duly served upon
the Defendant(s) herein through attorney of record via electronic filing:

               Scott Gsell, Esq.

                                      /s/ Steven R. Kaufman
                                      STEVEN R. KAUFMAN
                                      ASSISTANT UNITED STATES ATTORNEY



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